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     Federal Defender
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     Fresno, California 93721
4    Telephone (559) 487-5561
5    Attorney for Defendant Ryan Nathan Friend
6
7
8                                      IN THE UNITED STATES DISTRICT COURT
9                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )
                                                 )
12                            Plaintiff,         )         Docket No. 1:07-cr-00101 AWI
                                                 )
13           v.                                  )         WAIVER OF DEFENDANT’S
                                                 )         PERSONAL PRESENCE (Fed. R. Crim. P.
14   RYAN NATHAN FRIEND, et al.,                 )         43(c)(3)), AND ORDER THEREON
                                                 )
15                            Defendant.         )
                                                 )
16                                               )
17
18                                                    WAIVER
19           I hereby waive my right to be present in person in open court in the above-entitled case for any
20   proceeding involving only a conference or hearing upon a question of law, including but not limited to,
21   when the case is ordered set for trial, when a continuance is ordered, and when any other action is taken by
22   the court before trial except for arraignment and plea, and not including the trial or imposition of sentence.
23   I request the court to proceed during any of my absences which the court may permit pursuant to this
24   waiver. I agree that my interests will be deemed to be represented at all times by the presence of my
25   attorney, the same as if I were personally present;
26   /////
27   /////
28   W aiver of Personal Appearance
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1    and I further agree to be present in person in court ready for trial, any day and hour the court may fix in
2    my absence.
3             DATED: 6/4/07
4
5                                                                 /s/ Ryan Nathan Friend
                                                                  Defendant
6
7                                                                 Address
8
                                                                  City and State
9
10   APPROVED:
11
12       /s/ Marc C. Ament
     MARC C. AMENT
13   Assistant Federal Defender
     Attorney for Defendant
14
15
16
17                                                     ORDER
18            IT IS SO ORDERED. The defendant is excused from personal appearance at all hearings in this
19   matter except for arraignment, plea, trial, imposition of sentence, or any hearing at which evidence will be
20   taken.
21
22   IT IS SO ORDERED.
23   Dated:      June 5, 2007                           /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
24
25
26
27
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     W aiver of Personal Appearance                        2
